                                                           Honorable James Robart

                       UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF WASHINGTON, SEATTLE

 UNITED STATES OF AMERICA,               )       No. CR19-117 JLR
                                         )
                           Plaintiff,    )       DEFENSE PROPOSED
                                         )       VOIR DIRE QUESTIONS
          v.                             )
                                         )
SHAWNA REID,                             )
                           Defendant.    )
                                        )


   1. Have you read or heard about the murder of Thomas Wales, an assistant
      United States attorney, which occurred in October of 2001?
   2. Are you familiar with the Queen Anne Hill neighborhood in Seattle?
   3. Have you or a family member ever worked for law enforcement or the
      office of a prosecuting attorney?
   4. Have you ever served on a state or federal grand jury?
   5.. Do you have any opinions, either positive or negative about how the FBI
operates as a law enforcement agency?
    6.. Would you be able to judge the credibility of an FBI agent witness or a
police officer in the same way as any other witness?
    7. Would you tend to give greater weight or credibility, even slightly, to the
testimony of a law enforcement officer merely because he or she is testifying for
the government?
   8. Have you ever had to testify under oath? If so, were you ever asked about
what you might have said on another occasion?

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   9. If you were charged with a crime and made a statement, how would you
want that statement recorded?
     10. How would you want the most important statement of your life recorded
for accuracy?
    11. Have you ever said something that was misunderstood or misconstrued?
    12. You may hear evidence in this case, that the defendant has used illegal
drugs in the past. Would such evidence prevent you from being a fair and impartial
juror or not applying the presumption of innocence to Ms. Reid?
    13. Do you know anyone who has post-traumatic stress disorder, is bipolar, or
who suffers from depression?
      14. Do you know anyone who takes medication for treatment of mental
illness?
      15. Would evidence that Ms. Reid has post-traumatic stress disorder, is bi-
polar, and suffers from depression prevent you from being a fair and impartial juror
or not applying the presumption of innocence to her?
     16. Do you know anyone has been the victim of domestic violence?
      17. Would evidence that the defendant has been the victim of domestic
violence prevent you from being a fair and impartial juror?
     18. Have you received a coronavirus vaccination?
     19. If not, what is the reason you have not been vaccinated?
      20. Have you ever had the task of taking notes about what is said in an
interview or meeting?
      21. Have you ever been accused of something you did not do?
      22. Are you familiar with the Fifth Amendment constitutional protection
against a person being compelled to incriminate him/herself?
     23. Do you think there are circumstances in which an innocent person
would exercise his/her Fifth Amendment right against self-incrimination?
    24. Is anyone familiar with the idea of a witness testifying under a grant of
immunity? Or testifying because a compulsion order requires it?
                                                                         Michael Nance
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Respectfully submitted this 6th day of July, 2021.


                                       /s/ Michael Nance, WSBA #13933
                                       /s/ Robert Gombiner, WSBA #16059
                                       Attorneys for Shawna Reid




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                                  Certificate of Service

       I hereby certify that on the 6th day of July, 2021, I electronically filed the

foregoing with the clerk of the court using the CM/ECF system. Notice of this filing

will be sent electronically to counsel of record for other parties.


                                      /s/ Michael Nance
                                      email: michaelnancelaw@gmail.com




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